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 1                                                            Judge Richard A. Jones
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
 9
      UNITED STATES OF AMERICA,                              NO. CR14-198RAJ
10
                               Plaintiff,
11
                         v.
12
                                                             ORDER CONTINUING TRIAL
      DOMINGO VENEGAS-RAMIREZ,
13                                                           AND PRETRIAL MOTIONS DEADLINE
      OSWALDO CAMACHO-MONTERO, and
14    FERNANDO RODRIGUEZ-PENA,
15
                              Defendants.
16
17           THIS MATTER is before the Court on the joint motion of the government and the
18 three defendants who have made an appearance in the above-captioned case (Domingo
19 Venegas Ramirez, Oswaldo Camacho-Montero, and Fernando Rodriguez-Pena) to
20 continue the trial in this matter.
21           HAVING CONSIDERED this motion, the file and the records in this case, the
22 Court finds that the ends of justice are served by granting the continuance. The Court
23 further finds that this case involved a lengthy investigation into multiple defendants. This
24 investigation included six different interception orders and the interception of nine
25 different telephones. Accordingly, the government has produced over 4000 pages of
26 Bates-stamped discovery, as well as audio recordings of intercepted calls, text messages,
27 and linesheets. The government has prepared substantial amount of electronic discovery
28 (including photographs and surveillance videos) for production, as well. The government

     Order Continuing Trial                                                      UNITED STATES ATTORNEY
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     CR14-198RAJ/Venegas-Ramirez, et al. - 1                                      SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
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 1 has filed notice of related case for two other large, multi-defendant cases, United States v.
 2 Hernandez-Moreno, et al., CR 14-197RAJ and United States v. Sauceda-Macias, et al.,
 3 CR 14-200RAJ, and the discovery for this investigation has been produced to all
 4 defendants’ in these cases. The Court finds that defendants speak Spanish and in some
 5 instances, the assistance of an interpreter is required for the review of discovery. Finally,
 6 the defendants have agreed to file speedy trial waivers to accommodate the requested
 7 continuance.
 8           THE COURT FINDS THAT given the extensive amount of discovery material,
 9 the number of defendants, and the need for counsel to review this material with
10 defendants and in some cases with an interpreter, the failure to grant the requested
11 continuance would unreasonably deny defense counsel the time necessary to prepare for
12 trial, taking into consideration the exercise of due diligence. Accordingly, the ends of
13 justice served by a continuance outweigh the best interests of the public and the
14 defendants in a speedy trial.
15           IT IS THEREFORE ORDERED that the joint motion of the parties (Dkt. #44) is
16 GRANTED. Trial shall be continued from September 15, 2014 to May 11, 2015, and the
17 time between the date of this order and the new trial date is excludable pursuant to 18
18 U.S.C. §§ 3161(h)(6), 3161(h)(7)(A), 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iv).
19           IT IS FURTHER ORDERED that all pretrial motions, including motions in
20 limine, shall be filed no later than March 12, 2015.
21
22                                                      A
23                                                      The Honorable Richard A. Jones
                                                        United States District Judge
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     Order Continuing Trial                                                    UNITED STATES ATTORNEY
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